                                                                               Case 22-90323 Document 26-6 Filed in TXSB on 10/18/22 Page 1 of 1


Income Statement - 12 Month
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UrbanOne Properties
Property Groups: GraustarkMembers
Fund Type: All
Period Range: Jul 2021 to Jun 2022
Accounting Basis: Modified Accrual
Level of Detail: Detail View
Include Zero Balance GL Accounts: No

Account Name                                      Jul 2021               Aug 2021               Sep 2021               Oct 2021               Nov 2021               Dec 2021                Jan 2022               Feb 2022               Mar 2022               Apr 2022               May 2022               Jun 2022                Total
Operating Income & Expense
 Income
    INCOME
      RENTAL INCOME
         Rental Income                                       22,600.00              22,735.50              22,050.00              22,182.24              23,349.00              23,038.71               24,650.00              24,900.00              20,610.00              21,610.00              21,450.00              23,535.67            272,711.12
         Gross Potential Rent                                     0.00                   0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00                   0.00                  0.00
         Rental Income                                            0.00                   0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00                  80.00                 80.00
         Parking                                                 25.00                  25.00                  25.00                  25.00                  50.00                  50.00                   50.00                  50.00                  50.00                  80.00                  80.00                   0.00                510.00
         Rent Concession                                          0.00                   0.00                   0.00                   0.00                   0.00                   0.00                    0.00                -790.00                   0.00                -875.00                   0.00                   0.00             -1,665.00
         Management Concession                                 -725.00                   0.00                   0.00                -580.00                   0.00                   0.00                    0.00                -100.00                -200.00                   0.00                   0.00                -290.00             -1,895.00
      Total RENTAL INCOME                                    21,900.00              22,760.50              22,075.00              21,627.24              23,399.00              23,088.71               24,700.00              24,060.00              20,460.00              20,815.00              21,530.00              22,180.67            269,741.12
      EXPENSE REIMBURSEMENT
         Passthru Insurance                                      0.00                   0.00                   0.00                   0.00                   0.00                   19.00                  57.00                  66.50                  38.00                  38.00                  38.00                   38.00                294.50
         Passthru Water and Sewer                              315.00                 420.00                 315.00                 385.00                 385.00                  398.55                 385.00                 387.00                 351.00                 386.00                 386.00                  496.00              4,609.55
         Passthru Water                                        120.00                 120.00                 120.00                 120.00                  85.00                  105.00                 105.00                 150.00                  70.00                  35.00                  70.00                  105.00              1,205.00
         Passthru Trash                                        215.00                 260.00                 215.00                 245.00                 230.00                  215.81                 245.00                 350.00                 215.00                 215.00                 230.00                  305.00              2,940.81
      Total EXPENSE REIMBURSEMENT                              650.00                 800.00                 650.00                 750.00                 700.00                  738.36                 792.00                 953.50                 674.00                 674.00                 724.00                  944.00              9,049.86
      OTHER INCOME
         Move Out Charges                                         0.00                   0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00                   0.00                  0.00
         Miscellaneous Income                                     0.00                   0.00                  50.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00                   0.00                 50.00
         Late Fee                                               210.00                 400.00                 140.00                 650.00                 250.00                 430.00                  200.00                 320.00                 110.00                -160.00                   0.00                 109.00              2,659.00
         Admin Fees                                               9.00                  10.00                   9.00                   8.00                  10.00                  10.39                   25.00                  27.00                  24.00                  26.00                  26.00                  32.00                216.39
      Total OTHER INCOME                                        219.00                 410.00                 199.00                 658.00                 260.00                 440.39                  225.00                 347.00                 134.00                -134.00                  26.00                 141.00              2,925.39
    Total INCOME                                             22,769.00              23,970.50              22,924.00              23,035.24              24,359.00              24,267.46               25,717.00              25,360.50              21,268.00              21,355.00              22,280.00              23,265.67            281,716.37
    Pet Fee                                                       0.00                   0.00                 250.00                   0.00                   0.00                   0.00                  250.00                   0.00                   0.00                   0.00                 500.00                   0.00              1,000.00
    Application Fee Income                                        0.00                   0.00                 180.00                   0.00                  90.00                   0.00                    0.00                  45.00                  45.00                   0.00                 110.00                 165.00                635.00
 Total Operating Income                                      22,769.00              23,970.50              23,354.00              23,035.24              24,449.00              24,267.46               25,967.00              25,405.50              21,313.00              21,355.00              22,890.00              23,430.67            283,351.37
 Expense
    EXPENSES
      Repairs & Maintenance
         Pest Control                                           93.15                  64.95                   0.00                   0.00                 223.04                    0.00                 129.90                   0.00                   0.00                  223.04                   0.00                   0.00                734.08
         Roof Repair                                             0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                  0.00
         Landscaping                                            90.00                 160.00                 160.00                 160.00                 160.00                  160.00                 160.00                 160.00                 160.00                  160.00                   0.00                 141.75              1,671.75
         W/O Repair & Supplies                                   0.00                   0.00                 189.97                   0.00                   0.00                  169.49                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                359.46
         Electrical Repair                                       0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                  0.00
         Plumbing                                                0.00                   0.00                   0.00                  51.94                   0.00                    0.00                   0.00                  17.30                   0.00                   62.09                   0.00                   0.00                131.33
         Building Repair                                         0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                  0.00
         Windows                                                 0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                 235.00                   0.00                    0.00                   0.00                   0.00                235.00
         Gate Repair                                             0.00                  34.26                   0.00                   0.00                   0.00                    0.00                   0.00                  38.54                   0.00                    0.00                   0.00                   0.00                 72.80
         HVAC                                                    0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                  150.00                   0.00                   0.00                150.00
         Make Ready                                            250.00                   0.00                   0.00                 250.00                   0.00                    0.00                   0.00                   0.00                   0.00                  150.00                   0.00                   0.00                650.00
      Total Repairs & Maintenance                              433.15                 259.21                 349.97                 461.94                 383.04                  329.49                 289.90                 450.84                 160.00                1,395.95                   0.00                 141.75              4,004.42
      Operating Expenses
         Security Monitoring                                     0.00                    0.00                  0.00                   0.00                    0.00                   0.00                    0.00                   0.00                   0.00                 33.73                 102.14                    0.00                135.87
         Electricity                                           174.39                  174.00                 19.66                  10.04                  247.18                  35.95                  105.72                 154.92                  88.00                328.94                 134.54                    0.00              1,473.34
         Gas                                                   100.00                  116.60                104.08                 110.35                  120.52                 133.08                  175.01                 207.85                 216.22                283.70                 514.15                  147.13              2,228.69
         Water                                                 410.00                  607.00                438.63                 475.00                  556.00                 459.00                  560.00                 563.41                 797.92                  0.00                   0.00                    0.00              4,866.96
         W/D Rental                                              0.00                    0.00                  0.00                   0.00                    0.00                   0.00                    0.00                   0.00                   0.00                  0.00                   0.00                    0.00                  0.00
         Trash Disposal                                        210.00                  288.86                119.42                 139.42                  188.82                 210.24                  210.24                 210.00                 210.00                195.00                   0.00                    0.00              1,982.00
      Total Operating Expenses                                 894.39                1,186.46                681.79                 734.81                1,112.52                 838.27                1,050.97               1,136.18               1,312.14                901.35                 750.83                  147.13             10,686.86
      General and Administrative Expenses
         Maintenance Fees                                       352.00                 352.00                 352.00                 352.00                 352.00                 352.00                  352.00                 352.00                 352.00                 352.00                 352.00                  352.00             4,224.00
         Management Fees                                        980.00               1,136.78                 902.50               1,059.12               1,117.45               1,101.94                1,855.40                 744.35               1,168.85                 915.50                   0.00                1,072.50            12,054.39
         Payroll                                                368.00                 368.00                 368.00                 368.00                 368.00                 368.00                  368.00                 368.00                 368.00                 368.00                 368.00                  368.00             4,416.00
         Advertising and Promotion                               59.37                   0.00                   0.00                   0.00                   0.00                   0.00                    0.00                   0.00                   0.00                   0.00                   0.00                    0.00                59.37
         Insurance                                              900.00                 900.00                 900.00                 900.00                 900.00                 900.00                  900.00                 900.00                 900.00                 836.74                 900.00                    0.00             9,836.74
                            Property Taxes                        0.00                   0.00                   0.00                   0.00                   0.00              52,624.92                    0.00                   0.00                   0.00                   0.00                   0.00                    0.00            52,624.92
      Total General and Administrative Expenses               2,659.37               2,756.78               2,522.50               2,679.12               2,737.45              55,346.86                3,475.40               2,364.35               2,788.85               2,472.24               1,620.00                1,792.50            83,215.42
 Total Operating Expense                                      3,986.91               4,202.45               3,554.26               3,875.87               4,233.01              56,514.62                4,816.27               3,951.37               4,260.99               4,769.54               2,370.83               2,081.38             97,906.70

  NOI - Net Operating Income                                 18,782.09              19,768.05              19,799.74              19,159.37              20,215.99              -32,247.16              21,150.73              21,454.13              17,052.01              16,585.46              20,519.17              21,349.29            185,444.67




                                                                                                                                                                                                                                                                                                                     Exhibit 6
